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EXHIBIT “M”
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AMENDED AND RESTATED |

SHAREHOLDERS’ AGREEMENT
among

DOUGLAS BELZ
STEPHEN DIMEGLIO .
| JAMES DVORAK
and
MEGHAN LABELLA
and
Severally, each of
(A) BLUE DIAMOND SHEET METAL, INC.
(B) DIAM-N-BLU MECHANICAL CORP.
(C) MIRAGE MECHANICAL SYSTEMS, INC.

NEW YORK CORPORATIONS

‘Dated: December 22, 2008 ~~

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AMENDED AND RESTATED
SHAREHOLDERS’ AGREEMENT:

_. ‘| AGREEMENT made as of the 220d day of December, 2008; by and among DOUGLAS:
BELZ (“Belz”), residing at 22'S. Gillette Avenue, Bayport, New York 11705, STEPHEN

DIMEGLIO (“DiMeglio”), residing at 335 Lagoon Drive South, Copiague, New York 11726,. .

JAMES DVORAK (“Dvorak”) residing at 179 Oakwood Avenue, Bayport, New York 11705,
and Meghan LaBeila (“LaBella”) residing at 11 Beaverbrook Drive, Brookhaven, NY. 11719.
(Belz, DiMeglio, Dvorak, and: LaBella being sometimes referred to ‘as-a “Shareholder” and
collectively as the “Shareholders’’) and severally, each of BLUE DIAMOND SHEET METAL,
INC, “Blue Diamond”),. DIAM-N-BLU MECHANICAL CORP. (“Diam-N-Bly”) and MIRAGE

MECHANICAL -SYSTEMS,. INC. - (Mirage”), each’ a. New ‘York. corporation (the

“Corporations”), each. having its’ principal office at 1165 Station Road, Medford, New York
‘11763.

RECITALS’

The common stock (“Common Stock”) of each of the Corporations is owned by each of
the Shareholders as set forth on Exhibit A.

-The Shareholders and each Corporation intend that this Agreement is to be between the
Shareholders of such Corporation, and such Corporation, and therefore, that this instrument
constitutes three separate and distinct agreements, namely (A) among the Shareholders of Blue
Diamond, and Blue Diamond, (B) among the Shareholders of Diam-N-Blu, and Diam-N-Blu and

_ (C) among ihe-Shareholders of Mirage,.and Mirage. . .. .

For convenience, this Agreement refers to Shareholders, the Corporation, Shares and the
Board of Directors with-the understanding that such terms refer, severally to (A) Blue Diamond,
its shareholders, the shares of Blue Diamond hetd by them, and the Blue Diamond Board of
Directors; (B) Diam-N-Blu, its shareholders, the shares of Diam-N-Blu held by them, and the
Diam-N-Blu Board of Directors; and (C) Mirage, its shareholders, the shares of Mirage held by
them, and the Mirage Board of Directors,

WITNESSETH:

The Shareholders desire to provide for the conduct of the affairs of the Corporation, to
regulate the issuance and transfer of the Shares and to define certain of their rights and
obligations with respect te the operation of the Corporation.

NOW, THEREFORE, in consideration ‘of the mutual promises and other good and
valuable consideration, each of the parties agree with the others, as follows:

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(a) All action proposed to be taken by the Shareholders as such must
’ be’ dpproved by the’ affirmative vote of the holders of majority of the outstanding Shares entitled
to vote thereon (i) at a meeting of Shareholders or-(ii) by written consent as permitted by New
York law.

(b) All action proposed to be taken by the Board of Directors of the -

Corporation must be approved by the affirmative vote of a majority of-all directors entitted to
vote thereon except as otherwise specified herein. *. .

. .s (c} Each of the Shareholders. nares to vote all of the Shares owned by,

: such Shareholder and to take such other action as may ‘be necessary (including by written

‘ consent) so that each of the following oceprs and remains in effect throughout the term of this
Agreement: .

Co (i) © The Board of. Directors shalt consist. of four (4) members,
as follows:

Douglas Belz Belz
Stephen DiMegho DiMeglio
James Dvorak Dvorak
Al LaBella .. LaBella |

(d) In the event of a deadlock among the directors, the same shall be
resolved by the sole determination of the therr President of the Corporation, unless the Board of
Directors otherwise determines.

{e) The provisions of this Section 1 shall supersede any contrary or
inconsistent provision in any By-law, agreement or Certificate of Incorporation of the
Corporation, or any amendment thereof, and any such contrary or inconsistent provision shall-be
deemed amended hereby. This Agreement shall be deemed to be the unanimous written consent
of all shareholders and directors of the Corporation pursuant to Business Corporation Law
("BCL") sections 615 and 708, and the Bylaws and Certificate of Incorporation shall, in
accordance with sections 616 and 709 of the BCL, be deemed amended in conformance herewith
and any officer of the Corporation is- authorized and directed at any time to execute in any
‘capacity or capacities and to file a certificate or certificates, including an amendment of the
Certificaté of Incorporation, to effectuate such amendment,

2. Officers and Employment.

(a) The officers of the Corporation (“Officer Employees”) shall be as
follows, unless modified by the Board of Directors, from time to time, by unanimous approval all
of the directors and shall be full time employees of the Corporations:

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President Douglas Belz
Vice President .- Stephen DeMeglio
’ Treasurer © | Douglas Belz
Secretary - Stephen DeMeglio
Diam-N-Blu .
President Douglas Belz
Vice President ‘James Dvorak
Treasurér . Douglas Belz
Secretary, _ James Dvorak
President Douglas Belz
Vice President Al LaBella
Treasurer, Douglas Belz
“Secretary . Al LaBella ..

(b) The duties of the. Officers-Employees shall be such full. time
executive duties as are determined by the Board of Directors. Each Officer-Employee shall give
his best efforts and full time employment to the performance of such duties and shall not be
employed by any other person while acting as an Officer-Employee of the Corporation, other
than as an Officer-Employee at the other Corporations. No Shareholder shall be employed by the
Corporation unless ss expressly approved by the Board of Directors.

(c) The compensation and benefits of “each Officer-Employee shall be
determined by the Board of Directors, it being understood that each Officer-Employee shall
receive compensation and benefits of a value equal to that received by each other Officer-
Employee. If different sums are allocated to components such as salary, bonus, automobile,
_ vacation, and the like, at the request of the Officer-Employee, the total compensation shall
nevertheless be equalized among all of the Officer-Employees.

(d} Employment of an Officer-Employee shall terminate as follows:
(i) Upon the death of the Officer-Employce;

(ii) Upon the Permanent Disability of the Officer- Employee (as
, defined below):

(iii) | Upon.the commission by an Officer-Employee of a fraud or
misappropriation relating to the Corporation, or one of the
other Corporations, as determined by the Board of Directors
of the Corporation or upon conviction of an Officer-
Employee of a felony offense;

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(iv) Upon the failure of the Officer-Employee to perform his
duties hereunder in all material vespects, which is hot’
remedied within 45 days after notice thereof to the Officer-
Employee setting forth such failure in reasonable detail, as
determined by the Board of Directors; oe

(v) . Upon the Officer-Employee attaining the age of 62 years or,
at the election of the Officer-Employee communicated on

or-before-attaining the age of 60 years, and if he is not in -

breach, upon attaining the age of 64 years;
(vi) Upon the voluntary resignation of an Officer-Employee; or.

(vii) Upon the refusal of an Officer-Employee to promptly and.
timely guarantee the obligations of the Corporation to any

third party requiring the. same under. an arrangement |

approved by: the Board of Directors (the refusal of LaBella -
shall be deeméd a refusal of Al LaBella).

(e) Upon termination of the employment of an Officer-Employee,
compensation will be as follows:

(1) For a termination under Section 2(d}(i), (¥), (vi) or (vii) -
the estate of the Officer-Employee, or the Officer-Employee, as the case may be, will receive his
compensation accrued or-income earned but unpaid through the date of termination; .

(ii) For a termination under Section 2(d)(ii), the Officer-
Employee will receive compensation as set forth in Section 3 hereof:

(iii) For a termination under Section 2(d)(ii), or Section

(div), the Officer-Employee shall receive compensation accrued: and/or income earned but -

unpaid through the date of termination, less any sum determined to be due to the Corporation
resulting from a breach of this Agreement by the Officer-Employee.

(f) For purpose of determining income which may be due to a
terminated Officer-Employee, the books of the Corporation will be closed as of the end of the
previons or following calendar month, as determined by the Board of Ditectors.

{g) ° Upon termination of employment of’ an Officer-Employee, such
Officer-Employee or his legal representative shall promptly return to the Corporation all of the.
property of the Corporation in the possession of the Officer-Employee or such representative,
including books, records, files, credit cards and the like. In addition, such termination shall
constitute a resignation from alt offices held with the Corporation.

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3. - Disability.

(a) In the event that an Officer-Employee shall be "disabled" for a

“period of nine (9) months during any iwelve (12) consecutive months (a "Permanent Disability") ° -

- such Officer-Employce being hereinafter referred to.as being Permanently Disabled. During the
‘ nine (9) month period prior to the time the Officer-Employee has a Permanent Disability, he shall
be paid his full compensation by the Corporation less all disability insurance paid by policies of
insurance owned by the Corporation, if any, received directly by him or for his benefit. An
Officer-Employee shall be considered "disabled" under the following circumstances:

@ If the Corporation or another Officer-Empioyee shall have a

policy: of disability i insurance covering the purported disability, he shall be deemed to be disabled

within thé meaning contained in the toms of the disability 1 insurance policy. -

Gi) If neither the Corporation nor another Officer-Employee
shall have a policy of disability insurance covering the purported disability, he shall be deemed

disabled: if-the Board of Directors of the Corporation determines in good. faith.that he is. unable to _

discharge his usual business responsibilities and duties required by virtue of his employment by
the Corporation in the normal course of business.

(b) The cost of disability insurance maintained by the Corporation for
an Officer-Employee shall be charged to such Officer-Employee’s earnings account.

(a) . Each Sharcholder, and each Officer-Employee nominated by a

Shareholder, covenants and agrees that so long as he, or his nominating Shareholder, is a
Shareholder and for a period of five (5} years thereafter, he wil] not, without the prior written
consent of the Corporation, directly or indirectly, and whether as principal, agent, officer,

director, employee, consultant, or otherwise, alone or in association with any other person, firm,
corporation or other business organization, (i) be engaged j in, concerned, take part in, render
services to, own, share in the earnings of, own or invest in the stock, bonds or other securities of
any person, firm, corporation, or other business organization engaged in a business located in the
Counties of Nassau or Suffolk or the New York City Metropolitan Area, which is the same,
similar to or in competition with any of the business operations then or theretofore carried on by
any of the Corporations, including, but not limited to, sheet metal design, contracting and
engineering services (a "Similar Business"), or (ii) interfere with any Corporation's relationship
with, or endeavor to entice away from’any such Corporation; any person, firm, corporation or

other business organization who or which at any time during the last twenty-four (24) months of | |

the term of his employment or association with any. such. Corporation .was an_ employee,
consultant, agent, supplier, or customer of, or in the habit of dealing with, such Corporation. The
Shareholder and Officer-Employce nominated by a Shareholder may, however, invest in stock,
bonds or other securities of any Similar Business (but without otherwise participating in the
activities of such Similar Business) if: (A) such stock, bonds or other securities are listed on any
national or regional securities exchange or have been registered under Section 12 of the
Securities Exchange Act of 1934; and (B) the investment does not exceed, tn the case of any

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. Class of the capital stock of any. one issue, two (2%) percent of the issued and outstanding shares,

or in ‘the case of bonds or other securities, two (2%) of the aggregate priricipal amount thereof -

issned and outstanding. The ownership and operation of Green Bella Consulting, Inc., a New

"York corporation, by LaBélla sliafl not be deemed a violation’of the provisions of Section A(a)(i).

- Furthermore, in the event-an Officer-Employee’s employment is terminated under Section

’ 2¢d)(v) at age 62 and he is not offered substantially similar’ continuing employment with the.
Corporation at prevailing market rates for his duties, by unanimous vote of the Board of | |

Directors, the © provisions of Section Hayti) shall not apply to such person. :

(b) ~~ Each. Shareholder or off icer-Employee’ nominated by a

‘Shareholder covenants and agrees that he will not i) at any-time reveal, divulge, ot make. known

- any customer lists, trade secrets, or any secret or confidential information of any kind-used by any
of the Corporations while he was an employee, officer or director of the Corporation, and made
-: known (whether or not with the knowledge and permission of any such Corporation, whether or
not developed, devised or otherwise created in whole or in part by his efforts) to.him by reason of

his being an employee, officer or director of any such Corporation, to any person, firm,

- corporation, or other business organization which is in competition with any such.Corporation, or
(ii) use the confidential information for his own account in competition with any such
Corporation.

(c) Ifany provision of this Section 4 is held by any court of competent
jurisdiction to be unenforceable because of the scope, duration or area of its applicability, the
Corporation shall have the right to modify such scope, duration or area, or all of them so as to
- render them enforceable, and such provision shall then be applicable in such modified form,

without the consent of any other person..

{d) Each Shareholder and Officer-Employee who is a nominee of a
Shareholder acknowledges that the Corporation will have no adequate remedy at law if-he
breaches any covenant contained in this Section 4. Accordingly, in the event of any such breach,
the Corporation shall have.the right, in addition to any other remedy that it may have, to obtain

from any court of competent jurisdiction, injunctive relief to restrain any breach or threatened -

breach of or otherwise to specifically enforce any of the covenants contained t in this Section 4,

(2) The covenants contained in “this Section 4 shall survive the .

termination of this Agreement and may be enforced by the Corporation or any of the
Shareholders, provided that the Shareholder seeking enforcement hereunder is still a shareholder
of the Corporation.

(f) In consideration of the covenants contained in this Section 4; the
Corporation shall ‘reimburse each Shareholder, on a dollar for dollar. basis, for the cost of all
insurance premiums paid by such Shareholder for the life insurance policies described in Section
5(a) below which are purchased and maintained by such Shareholder.

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5. . Life Insurance,

(a) Each. Shareholder shall, promptly following the execution of this
Agreement, purchase life insurance and disability buy-Out insurance msufing, respectively, the
life and Permanent Disability of cach of the other Shareholders (collectively, the “Insurance
Policies”) as set forth on Exhibit B or as otherwise agreed to by the Shareholders, except that the
- Insurance Policies relating to LaBella shail instead cover, Al LaBella provided he has an

agreement with LaBella to obtain ownership of her Shares’ in the event of her death, All.

‘ Insurance Policies shall name the Escrowee (as hereinafter defined), in its capacity as escrow
‘agent, as the beneficiary thereof, Each of the lrisurance Policies shall be deposited with the
Escrowee who shall hold them and thé proceeds received thereunder in escrow and dispose of
such -proceeds in accordance with the purposes and provisions of this. Agreement. Each
Shareholder shall pay all premiums due on the Insurance Policies owned by such Shareholder.
The Insurance Policies shall piovide for written notice to the insured Shareholder in the event of-
default and shal! allow the insured Shareholder at least ten (10) days to cure any such default. if
for any reason an insured Shareholder shall pay a premium due on an Insurance Policy, another
Shareholder. who is-otherwise-responsible for the payment. of such premium shall immediately
reimburse him therefor. Each Shareholder shall be the beneficial owner of the Insurance Policy
taken out for him hereunder, but shall not have the right, during the term of this Agreement, to
withdraw any policy from the Escrowee or to modify or impair any of the rights or values under
such policies, ot to encumber (except in connection with borrowing cash surrender values to
maintain such policies) or dispose of any of the policies, or exercise any right under any of the
policies without the written consent of the insured Shareholder. Upon the death or Permanent
Disability, as the case may be, of a Shareholder, the proceeds of the Insurance Policies shall be
paid in accordance with the provisions ofthis Agreement.

(b} Upon the death or Permanent Disability of a Shareholder, the
‘yemaining Shareholder or Shareholders, as the case may be, shall have the right to purchase from
the estate of the Deceased Shareholder, the Insurance Policy or Policies covering such remaining
Shareholder or Shareholders’ lives and Permanent Disability, The purchase price shall equal the
- net cash surrender value of the policies at the date of purchase plus the unearned portion of any
premiums as of that date. This right may be exercised at any time: (A) within sixty (60) days
' after the qualification of the legal representative of the estate of the Deceased Shareholder by the
payment of the purchase price to the legal representative of the estate of the Deceased
Shareholder. Upon receipt of the, purchase price, the said legal representative shall assign the
Insurance Policies to the purchaser together with appropriate documents effectuating transfers of

such Insurance Policies. .

‘(c) In the event of a purchase of a Shareholder’s Shares pursuant to
Section 7 or 9 herein, such Shareholder. shall have the right.to purchase the Insurance Policies
covering such Shareholder’s life and Permanent Disability. The purchase price shall equal the
net cash surrender value of the policies at the date of purchase plus the unearned portion of any
premiums as of that date. This right may be exercised within sixty (60) days after closing of the
purchase of the Shareholder’s Shares.

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(a) . No Shareholder shall pledge or otherwise encumber his Shares, nor
dispose of his Shares by gift, gale; ‘inheritance . or ‘otheiwise (including, without limitation,
- involuntary transfers)-except with the prior, written consent of the other Shareholders or as
otherwise specifically permitted by this: Agreement. Any purported pledge, encumbrance or

disposition. in violation ofthe terms of this Agreement shall be null and void ab_initio.
Notwithstanding the foregoing, LaBella and Al LaBella and may transfer Shares between them

upon notice to the Corporation. The Corporation's certificates representing the Shares shall have 7

inscribed thereon the following endorsement:

: "THE PLEDGE, | TRANSFER OR. SALE . OF SHARES. -
’ REPRESENTED BY THIS CERTIFICATE IS SUBJECT TO THE
TERMS’ QF THE SHARE REPURCHASE -AND
SHAREHOLDERS ‘AGREEMENT DATED DECEMBER __,
2008, A COPY.OF WHICH 18 ON FILE AT THE OFFICE OF
‘THE CORPORATION. "

(b) No transfer of Shares to any person to whom such Shares may be
transferred pursuant to this Agreement shall be effective unless, as a condition of such transfer,
such proposed transferee assumes and agrees in writing to be bound by the provisions of this
Agreement (unless already a party), all of which shall apply to such proposed transferee. To the
extent permitted by law, the restrictions and provisions of this Agreemeni shall apply to any
person acting on behalf of any of the Shareholders or succeeding to, or having a power over his
. interest .by operation of law or otherwise. Notwithstanding anything contained herein to the
contrary, each Shareholder shall -have the right to transfer his Shares to his spouse and his lineal
descendants, or trusts for them, provided that such Shares (“Family Shares”) shall be treated
hereunder in all respects as if the same were owned by the Shareholder, meaning that provisions
hereof relating. to the voting and/or transfer of a Shareholders’ Shares shai! continue to apply to
such Shareholder’s Family Shares, except only that funds payable on or for the Family Shares
shall be payable to thé record owner of the same. No holder of Family Shares shall, as a result
thereof, have any right to act as a director hereunder, or a5 an employee of the Corporation,

. (c) Although Family Shares are subject to repurchase from the
transferor, as set forth herein, a number of Family Shares not in excess of five (5%) percent of
the outstanding common stock of the Corporation held by a Subject Holder (as hereinafter
defined) would not be subject to sale under provisions binding the transferor thereof if the holder
(“Subject Holder”) (i) is a family member of the transferor; (ii) has been employed by the
Corporation for at least four (4) years and (ili) has been unanimously approved by thé Board of
Directors.

(d) All Shares, including any shares that may be issued to the
Shareholders atier the date hereof, whether or not transferred pursuant to the provisions of this
Agreement, shal! remain tn all respects subject to this Agreement and every. transferee thereof
shall by his acceptance be deemed to have consented thereto. Nevertheless, each authorized
transferee of Shares shall deliver all stock certificates representing Shares to the Corporation to

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be legended in accordance with ‘Section 6(a) hereof, and shall execute and deliver to the’
Corporation, at the transferee's own cost and expense, all documents; instruments or agreements
_ to bind the transferee to the terms of this Agreement. lf the transferee refuses or fails to deliver

any such document, instrument or agreerhent within thirty (30) days after ‘demand thereof by the “°

Corporation, t ihe transfer of the Shares to such transferee shall be null and void.

7. Inter. Vivné Disposition af Shares.

, (a) - Ifany Shareholder (the “Offéror”) wishes to transfer al. (but not
less than all) of his Shares-(“the Offered Shares”), other than as otherwise expressly permitted by,
or provided in, this Agreement, the Offeror shall send written notice to the other Shareholders of

his-desire to-sell his Shares-and offer (tlie “Offer”) to sell ‘his Shares to the other Shareholders”. -

(collectively, the “Reniaining Shareholders”), The Offer shall be made ih writing and shail
inchide all of the terms and conditions: of the proposed transfer. Each of the Remaining
Shareholders shall have the right to purchase a number of Offered Shares calculated as follows:
the Shares offered for sale multiplied by a fraction, the numerator of which is ‘the number of

‘Shares then owned by a Remaining Shareholder, and the denominator of which is the number of .

Shares then owned by all of the Remaining Shareholders (the “Percentage Interest”).

“(b) Bach of the Remaining Shareholders shall have forty-five (45) days -

after delivery of written notice of the Offer from the Offeror te accept or reject the Offer by
sending written notice to the Offeror, the Remaining Shareholders and the Corporation. [fall of
the Offered Shares are not accepted for purchase by the Remaining Shareholders, then the
Remaining Shareholder(s) who has accepted the Offer (the “Accepting Remaining
Shareholder(s)”)-shall have the right for thirty (30) days after rejection of the Offer by the other
Remaining Shareholder(s), upon written notice to the Offeror, the other Remaining
Shareholder(s} and the Corporation, to purchase the remainder of the Offered Shares (the
“Remaining Offered Shares”) in proportion to their respective Percentage Interests. If an
Accepting Remaining Shareholder(s) does not exercise his option to purchase his portion of the
Remaining Offered Shares, then the Corporation, shall have the right, for thirty (30) days
following the rejection of the offer to purchase the Remaining Offered Shares by an Accepting
Remaining Shareholder, upon written notice to the Shareholders, to purchase any Offered Shares

that have not been accepted for purchase by the Remaining Shareholders. Failure by the -

Remaining Shareholders and the Corporation to duly deliver notice within the prescribed time
periods shail be deemed a rejection of the Offer.

(c) At the option of the purchasing Shareholder(s) or the Corporation,

as the case may be; the purchase price per share of the Offered Shares’ shall be, either (i) the price -

specified in the Offer, payable upon the terms and conditions contained therein; or (ii) the price
determined in accordance with Section-11 hereof. A closing (the."Closing") shall be held within
thirty (30) days following delivery of the last notice accepting the offer for the Offered Shares.
The purchase price described above shall be payable in accordance with provisions of Section 12
below.

(d) If all (i.e., not ess than all) of the Offered Shares are not accepted
for purchase by the Remaining Shareholders and/or the Corporation pursuant to this Section 7,

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" . then the’ Offeror shall have the right for.a period of ninety.(90) days following the termination of -

the right of the Remaining Shareholders and/or the Corporation to purchase the Offered Shares, =.

whichever is later, to sell all (i.e., not less than all) of the Offered Shares to a third party, but only
upon the terms and conditions containéd in tlie Offer.” = ST

(e)  Indetermining whether or the extent to which the Corporation will

exercise its option te purchase Offered Shares from the Offeror, the Offeror will abstain from.

voting at any directors’ meeting on any resolution concerning the same, and unanimous action of
the Board of Directors shail be calculated as if the Offeror was not a member of the Board of
Directors. - ot

Lo . (f° If at’any time; one or-smiore Shareholders, (‘Majority Sellers”)
propose to sell a majority of the outstanding Shares to a bona fide purchaser (a “BFP”} which is
not controlled, directly or indirectly, by any of them, in an arm’s-length transaction for fair value
pursuant to Section 7(d) above, the Majority Sellers shall provide the Remaining Shareholdérs

_ with not less than thirty (30) days’ prior written notice of such proposed sale, which notice shall
‘include (i) all of the terms and conditions of such preposed sale, (ii). the identity and address of -

the BFP, and (iii} whether the Majority Sellers elect to require the Remaining Shareholders to

sell the BEP the same percentage of the Remaining Shareholders’ Shares at a purchase: price -

(“Purchase Price”) equal to the price per share at which the Majority Sellers sell their Shares,
times the number of Shares held by the Remaining Shareholders, and on such other terms and
conditions as the Selling Shareholder intends to sell to such BFP, and if such Majority Sellers so
elect, the Remaining Shareholders shall thus sell the same percentage of the Shares owned by
them to the BFP at the same time and for an amount equal to the Purchase Price and upon such

other terms and conditions at which, the Majority Sellers sell the Shares of the Corporation -

owned by them (for example, if the Majority Sellers are proposing to sell 100% of their Shares,
the Remaining Shareholders would be obligated to sell 100% of their Shares).

If the Majority Sellers do not elect to require the Remaining Shareholders
to sell the same percentage of their Shares to such BFP as the Majority Sellers intend to sell to
such BFP,.the Remaining Shareholders shall have the option, exercisable by written noticé to the
Majority Sellers within twenty (20) days after the receipt of the Majority Sellers’ notice, to
require the Majority Sellers to arrange for the BFP to purchase the same percentage of the Shares
held by the Remaining Shareholders as the Majority Sellers intend to sell to such BFP, at the
sate time and for an amonnt equal to the Purchase Price, and upon such other terms and
- conditions at which, the Majority Sellers shall sell their Shares. If the Remaining Sharcholders
shall make this election, the Majority Sellers agree that they shall cither (i) arrange for the

‘proposed BFP to purchase thé same percentage of the Shares then owned by the Remaining —

Shiarcholders, at the same time and for an aiount equal to the Purchase Price, and upon sach

other terms and conditions at which the Majority Sellers sell their Shares, or. (ii) not cffect the .

proposed sale of Shares to the BFP.

(g) Anything hereto the contrary notwithstanding, no transfer shall be
permitted which had any of the following effects: (i) the transfer would result in a loss of the
Corporation’s S election status, (ii) the transfer would have adverse effect on, or cause an
acceleration of, the Corporation's institutional borrowing; and/or (ili) the transfer would

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: adversely affect the Corporation’s ability to obtaining contract bonds. Furthermore; no transfer
shall be perinitted unless the Offeror has’ then- fully satisfied ‘his obligations under a loan in

connection with the purchase by the Offeror of any Shares of the Corporation from Robert

‘Lawless.

: (a) _—_In the event of the death or Permanent Disability of a Shareholder
(a “Deceased or Disabled Shareholder”), the representative of the Deceased Shareholder, or

_ Disabled Shareholder or his legal representative, shall, within thirty (30) days following either (i)
. the occurrénce-of such Permanent Disability; or (ii).the appointment and qualification of the legal ,

representative, as the case may be, provide written notice to the Corporation and the. Remaining
“Shareholders of such Deceased or Disabled Shareholder’s death or Permanent Disability.

(b) The Remaining Shareholders shall purchase all, but not less than

all, of the Deceased or Disabled Shareholder’s Shares in proportion to the Percentage Interest of
- each Remaining Shareholder, upon the terms set-forth in'Sections 11 and 12 below. m

(c)  Aciosing shall be held within one hundred twenty (120) days after _

delivery of the notice provided for in Paragraph 8(a) hereof. The purchase price per Share of the
Deceased or Disabled Shareholders Shares shali be determined in accordance with Section 11
hereof. The purchase price for the Shares shall be payable to the Estate of the Deceased
Shareholder, or the Disabled Shareholder or his representative with ten (10%) percent at Closing
and the balance in ninety-six (96) consecutive equal monthly installments. At Closing, any life
insurance or permanent disability-insurance proceeds received by: the Escrowee (which are not

from key person insurance) shal! be applied first of such 10% amount, and then to the payment of

such installments in reverse order of maturity, with an appropriate recalculation to remove
wiearned interest: In the event the amount of the proceeds payable from the Insurance Policies
insuring the Deceased or Disabled Shareholdet’s life or Permanent Disability exceed the
ageregate purchase price of the Shares, then any such excess proceeds shall be deemed to

increase the purchase price so that it equals the amount of such insurance. Any monie¢s received ©

‘by a Disabled Shareholder pursuant to Section 3a) above shall be credited on a dollar for dollar.
basis, ‘against the aggregate amount of disability income insurance premiums paid by the
Corporation to insure the Disabled Shareholder through the trigger date, or ifno disability benefit
is paid, the aggregate amount of disability income payments made by the Corporation in lieu of
disability income insurance payments.

(d) | if the legal representative of the estate of a Deceased Shareholder

ora Disabled ‘Sharéholder or his representative shall fail, within thirty (30) days after -
appointment, to offer the Shareholder's Shares for sale, as provided in Section 8{a)} hereof, or if.

no such legal representative shall be appointed within sixty (60) days after death or a Permanent
Disability, the Shares of the Deceased Shareholder or Disabled Shareholder shall be deemed to
have been offered for sale by notice to the Remaining Shareholders in accordance with Section
8(a) hereof and the provisions of this Agreement relative to acceptance of the offer, purchase
price, terms of payment and the like, shall apply.

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(e) . Anything herein to the contrary. ‘notwithstanding, if any payments
are to be made for the purchasé of Shares, the proceeds thereof shall first be paid to fully satisfy
- the Deceased of Disabled Shareholder’s obligations under a toan from The Suffolk County

National Bank in connection with’ his purchase of Shares of the: Corporation from Robert -

Lawless.

@ In the event it of the termination of the employment of a Shareholder

. (a “Terminated Shareholder”) who is an Officer-Employee (termination of the employment of
Al LaBella: will be deemed a termination affecting LaBetla, who will then be considered the
“Terminated Shareholder”), other thari due to Death or Permanent Disability as set forth in”
_ Sections 2(d)G) and (ii) the Terminated Shareholder shall sell, and the Remaining Shareholders
may, at their election purchase in proportion to their: respective Percentage interests, all, but not
fess than all, of the Terminated Shareholder 5 Shares upon the following ierms and conditions:

G) In the event the employment ‘of a Terminated Shareholder is
terminated under Sections 2(d)(iii) and (iv), the purchase price for the Terminated Shareholder’s
Shares shall be the aggregate purchase price paid by the Terminated Shareholder for the Shares
or the amount calculated in accordance with Section 11, whichever is less. At any closing
required hereunder, the Terminated Shareholder shall deliver his Shares to the Remaining
Shareholders, free and clear of all liens, claims and encumbrances, duly endorsed for transfer.
Such payment shall be offset by all sums due by the Terminated Shareholder io the Corporation.

Giy In the event the employment of a Terminated Shareholder i is
terminated urider Section 2(d)(v), then the purchase price for the Terminated Shareholder’s
Shares shall be calculated in accordance with Section 11. If the Section 2(d)(v) termination
occurs at age 62, all of the shares will be subject to purchase, and if the Section 2(d)(¥)
_ termination occurs at age 64, one-half (1/2) of the shares shall be subject to purchase at age 62

and the remaining one- -half (1/2) of the shares will be subject io purchase at age 64. ,

(iii) ‘Im the event the employment of a Terminated Shareholder is
terminated under Section 2(d)(vi), then the purchase price for the Terminated Shareholder’s
Shares shall be calculated in accordance with Section 11, provided that if the terminated
Shareholder (or Al LaBella in the case ‘of LaBella) has been then employed for Jess than ten (19)
years, the purchase price shall be reduced by 4% for each year or fraction thereof which is less
than 10 years from the date of the commencement of his ‘employment or the date of this

Agreement, whichever | is later.

(iv) In the event the employment of a Terminated Shareholder
is terminated under Section 2(d)(vii), then the purchase price for the Terminated Shareholder’s
Shares shall be calculated in accordance with Section 11 below, including however a minority
discount and a liquidity discount in a total amount of 21% and the reduction set forth in
_ subsection (iit) above. .

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. + (b) _ Anything. herein to the contrary notwithstanding, if any payments
’ are to be made for the purchase of Shares; the proceeds thereof shall first be paid-to satisfy the
‘selling Shareholder’s obligations for a foan from The Suffolk County National Bank in

? “eoniection with his purchase of Shares of the Corporation from Robert Lawless.

: . (c) All. payments of amounts due under this Section 9 shall be made in
accordance with Section 12 hereof,

10. ° Failure to Purchase or-Close, [f the Corporation and/or the Remaining
' Shareholders shai! fail to deliver the purchase price and documenis herein.required at a Closing,
- pursuant’ to Section 12 hereof (a “Failure”), relating to a-Deceased or Disabled Shareholder thie
Disabled Shareholder or his representative, othe representative of the estate of the Deceased
. Shareholder, as the case may be, shal! have the right within sixty (60) days thereafter, to elect by
hotice to the Corporation and the’ Remaining Shareholders to have the Corporation sold: or
dissolved, in such event, the Shareholders shali forthwith vote their Shares and take such other
necessary stéps to forthwith effectuate the sale of the Corporation, and if this is not possible
--within. one hundred eighty (180) days, effect the voluntary dissolution and-liquidation of the
Corporation. In dissolving and liquidating the Corporation, the Shareholders shalt use all
reasonable efforts to maximize the. assets or proceeds available for distribution to the
Shareholders and, to that end, shall, if the opportunity therefore is available, sell the business of
the Corporation as a “going concern" to any Shareholder or any third party. If, in maximizing the
assets or proceeds available for distribution, the business of the Corporation is sold as a going
concem to a third party, the Shareholders shall execute and deliver such undertakings consistent
- with Section 4 above as may be reasonably requested by such third-party purchaser. In addition,

_upon the occurrence of a Failure, the Disabled Shareholder or his.representative or representative | _

_ of the.estate of the Deceased Shareholder, as the case may be, shall have the right to exercise
such other remedy available to him at law or in equity.

11, Maluation. The purchase price per Share to be paid by the Corporation and
the Remaining Shareholders pursuant to Sections 7(c\(ii) and 8 hereof, shall be as follows:

(a) The value last previously determined by the Shareholders and the
Corporation as set forth in a valuation certificate substantially in the form annexed hereto as
Exhibit C one (1) years or less in age, or

“(b) If more than one (1) year has elapsed since the date of the
execution of the most recent valuation certificate, the valuation will be carmed out by an
independent nationally recognized valuation firm selected by the Board of Directors; which shall
consider prior and perspective operations and which shalf render a written report to the Board of
Directors. All expenses of the-valuation firm shall be paid by the Corporation. .

(c) A Shareholder whose Shares are purchased hereunder shall have
the right to receive ownership of all life and disability insurance policies insuring such
Shareholder’s life and Permanent Disability maintained by the Corporation or the Shareholders
as elsewhere set forth herein.

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9 of this Agreement involving other Shareholders or the Corporation will take place at the

principal office of the Corporation within the time prescribed: by this Agreement.on the business -
day and at the time set forth by the seller of the Shares in a notice delivered to the purchaser(s) .

' (“Purchaser(s)”) at least five (5) days before the Closing.

(b) At the Closing, unless otherwise specified herein, the Purchaser(s)

- shall (i) pay by certified or bank cashier's check that portion of the purchase price equal to LO%-
of the total price required to be paid at that tine (except if the proceeds of any Insurance Policy-

ar Policies exceed said amount, in ‘which event the down payment shall equal the insurance

proceeds); and (fi)'éxecute and deliver to’ the selling Shareholder or the legal representative of the

estate of the Deceased Shareholder (the "Selfler"} a non-negotiable promissory note in the
required principal, bearing interest at the rate equal to the Prime Rate charged by JP Morgan

Chase in-effect at the close of business on the day immediately preceding the Closing, payable in -

ninety-six (96) equal monthly installments of principal and interest. The promissory note shall
provide that (x) upon default for ten (10) days after written notice, the principal amount of the
promissory vote and all unpaid interest shall be immediately due and payable, and (y) the maker
shall have the right of prepayment without penalty at any time. The obligations evidenced by the
promissory note, if delivered by the Corporation, shall be guaranteed as to payment by the
Remaining Shareholders, and if delivered by a Remaining Shareholder, shall be guaranteed as to
payment by the Corporation. Notwithstanding the foregoing, any shares purchased on account of
an Officer-Employce attaining the age of 62 years shall be paid-for only in cash.

(c) {i} Unless shares are purchased only for cash, at the Closing, the Seller
shall deliver to Ruskin, Moscou, Evans & Faltischek, P.C., as escrow agent (the “Escrowee”) the
following:

(A) all certificate(s) representing the Shares owned by
the Seller;

(B) blank stock powers, properly executed, with all the
nécessary transfer stamps affixed,

(C) a letter of resignation from the Seller as an officer
and director of the Corporation and all of its subsidiaries, if any; and ‘

(D}- such other documents as may be reasonably
required by the Purchaser in connection with the Share purchase.

(ii) The Escrowee shall hold all of the certificates, stock powers and
other documents delivered above as security for the payment of the promissory note described
herein,

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(a). _ All Closings required by the sale of Shares under Sectiéns 7, 8 aid”

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(iti). So long as the Purchaser is not in default under the promissory ©

note, the Purchaser shall have the right to vote. the shares'in escrow, and the Seller shall, on -
demand, execute and deliver an effective proxy or proxies in favor of the Purchaser.

(iv) Upon receipt of notice by the Escrowee of payment in full of the
‘Purchaser's promissory note, the Escrowee shall deliver a copy thereof to the Seller. if within
. fifteen (15) days thereafter notice is not delivered by the Seller contradicting such notice, the
' Bscrowee shall deliver the certificate(s) representing the Shares to the Purchaser.

(vy) Ef the Escrowee receives notice of a default in payment of the
- promissory note at any time prior to the fifteenth (15th). day following delivery of the Escrowee's

notice above and notifies the alleged defaulting party, which notice is not contradicted by notice
-. delivered tothe Escrowee by the alleged defaulting party, ithe Escrowee shall sell the Shares held
in escrow and all other property, if any, held in escrow-at a public or private sate upon at least ten
(10) days’ advance notice to the parties, in which case Section 12(c)(vii) shall apply. The
Escrowee shalt apply the proceeds of any sale.in the following order; (A) to the payment of

expenses of sale, including reasonable attorney's fees, (B).to the payment of the balance owed by, .

the Purchaser to the Seller, and (C) to the Purchaser. The Seller shall also have any and all rights
and remedies available at law.

(vi) 1f the Escrowee receives conflicting notices from the Seller and the
Purchaser, the Escrowee shall not act in response to either notice and shall thereafter act only in
accordance with any of the following:

(A) A new notice signed by the Seller and the Purchaser; or

(8) A certified copy of a judgment of a court of competent
jurisdiction, as to which. the Escrowee shall have received an opinion of counsel satisfactory to
the Escrowee in its sole and absolute discretion, that such judgment is final beyond appeal.

(vii) Upon performance of its duties in accordance with the provisions
of this Agreement, the Escrowee shall be relieved and discharged of any and all liabilities

-hereunder. The Escrowee shall in ne event have any fiability- for any act: or omission to act, -

except those acts and/or omissions which constitute willful misconduct, and shall be indemnified
and held harmless, jointly and severally, by the Shareholders from and against any loss, liability

‘ and expense incurred without willful misconduct on the part of the Escrowee arising out of or iti
connection with the acceptance by the Escrowee of the Escrowee's duties hereunder, including
the cost and expense of defending any claim of liability hereunder. °

(iii) If the. Escrowee is threatened with litigation by reason of. the
escrow, the Escrowee is authorized to interplead all interested parties in any court of competent
jurisdiction and to deposit with the Clerk of such Court any funds, securities or other propertly
held by the Escrowee and thereupon the Escrowee shall stand fully relieved and discharged of
any further duties under the escrow.

15.

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a - (ix) The Escrowee may rely upon, and shall be- protected in acting or
refraining: from’ acting in reliarice on, any writfen notice, instructions or request furnished to the
__Escrowee and believed by the Escrowee to be genuine and to have been signed by the proper

‘party or parties. © rE nme ae

. (x) The -Escrowee shall not be liable for any action. taken by said

. Escrowee in good faith and believed by Escrowee to be authorized or within the rights or powers
conferred upon the Escrowee by this Agreement. The Escrowee may consult with counsel of its
own choosing and shall have full and complete authorization and protection for any action taken
or suffered by the Escrowee under the escrow in accordance with the opinion of such counsel.

(xi) The Shareholders hereby, jointly and severally, agree to indemnify

the Escrowee from and to hold the Escrowee harmless against -any loss, liability or expense
“Inenrred withont gross negligence or bad faith on the Escrowee's part, arising out of ‘or in

cormection with the Escrowee's duties under this Agreement, including the costs and expenses of

defending ‘itself against any claims of liability, and. to pay or reimburse the Escrowee upon
» request for all expenses, disbursements and advances, including the costs of reasonable attorney's
fees incurred by the escrowee in connection with carrying out its duties hereunder.

(xii) The Escrowee may. resign and be discharged from its duties or
obligations at any time by giving notice in writing of such resignation specifying a date when
such resignation shall take effect. In such event, the Shareholders shall within ten {10) days
thereafter designate a successor, who shall be a corporate fiduciary or any other person, firm or
corporation mutually satisfactory to the Shareholders. In the absence of such designation, the

- Bscrowee may appoint a successor which shall be a-corporate fiduciary, who shall be.bound by
_ the-terms of this Agreement.

(xiii) The Estrowee is counsel to the Corporation. Nothing herein shall
prohibit the Escrowee from continuing to act as counsel to the Corporation or to represent the
Corporation in any dispute arising-hereunder. . -

(xiv) With respect to the Shares that are held in escrow pursuant to this
Section 12, this provision is intended to and will create a security interest in favor of the Seller
pursuant to the Uniform Commercial Code, in addition to such other rights and remedics
available under applicable law,

13, SMACNA. For so long as Al LaBella is an Officer-Employee, he shall be

_entitled to exercise the Corparations’ vote, for the best interest of the Corporations, at all
“SMACNA meetings and he’ shall be entitled to attend all SMACNA meetings, together such ~
other Officer-Employees who desire to attend, subject to any numerical limitation on attendance”

at SMACNA meetings.
14.  [ssuance.of Shares. Below Fair Market Value. The Corporation shall not

issue any securities of the Corporation for a consideration less than the fair market value of such
securities as determined withont the prior written consent of all of the Shareholders.

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"18. - Notices, Notices or other communications. required or. permitted to be.

given hereunder shall be in writing, and shall be deemed given upon the first attempted date of : -
delivery by a recognized ovetnight carrier to the addresses set forth herein or such other address

_as'a party shall give noti¢e of in accordance within.

16. Asts Required. to Effectnate Agreement. The partics hereto specifically:

agree that they will,.as partics hereto and as shareholders, officers. and/or directors of the —

. Corporation, duly perform any and all acts and will execute any and all agreements, proxies,
documents, resolutions and other instruments which may be required’ of each of them or which
may be necessary for the purpose of fulfilling, effectuating or implementing any of the provisions
ofthis Agreement. | - ee Lo Lob.

‘19.  Uneénforceable Provisions. 1f any provision of this Agretment ‘is
_ determined to be legality invalid, inoperative or unenforceable, only that particular provision stiall
be effected, and the determination shal] have'no effect whatsoever on any other provision of this”
~ Agreement, and all other provisions shall remain in full force and effect and fully enforceable.

18. Entire Agreement and Madifications.of Agreement. This Agreement
constitutes the entire. understanding among the parties hereto, supersedes all prior agreements and
understandings with respect to the subject matter hereof, and shall not be modified except in
writing signed by either (a) all of the parties or (b) by the party or parties against whom such
modification is sought to be enforced.

19. Waiver, No delay or failure to exercise any remedy or right occurring
upon any default shall be construed as a-waiver of such remedy or right or acquiescence in such
default, nor shall it affect any subsequent default of the same or a different nature. Ail rights and
remedies herein conferred shal! be in addition to and not exclusive of any and ail other rights or
- rémedies now or hereafter existing at law-or equity. -

20, Headings. The headings in this Agreement haye been inserted as a matter

of convenience and shall not affect the construction hereof. '

21.: Duration: This Agreement shall continue in full force and effect ‘until
tetminated by the occurrence of any of the following events, whichever first occurs:

(a) Dissolution of the Corporation and or liquidation of the
Corporation and its business;

(b) The death or disability of all of the Sharcholders; -

{c) The termination of the employment of all of the Officers
Employees;

(d) The filing of a voluntary petition of bankruptcy by the Corporation,
or an adjudication of bankruptcy of the Corporation,

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(c}. The appointment of a receiver for the Corporation or the.

subétantial portion of its assets: which has not vacated within sixty. (60) days; or .

Corporation of its assets.

22, | Governing Law. This Agreement arid all gvestions, claims, controversies

and other matters arising hereunder shall be governed by the laws of the State of New York, .

without regard to its principles of conflicts of laws. All-disputes shalt be heard -only by the
Federal and New York State courts sitting in Suffolk County, State of New: York. -

23. Parties: Subject to Agreement ‘This Apreement shall be binding upon and

shall inure to the benefit of the parties hereto and their respective heirs, executors, administrators,

successors anid assigns.- This Agreement may not be assigned, except as otherwise permitted a!

’ herewnder.

24, Counterparts. This Agreement may be. executed in any number of.

counterparts, each of which shall be deemed an original, but all of which together shail constitute
one and the.same instrument. :

25. Specific Performance. The parties agree that the Shares are unique and
that failure to perform the obligations under this Agreement will result in irreparable damage to
the other parties and that specific performance of these obligations may be obtained by a suit in
equity.

26.. Indemnification. Bach Sharcholder shall indemnify and hold the other
Shareholders harmless from and against any and all claims, suits, actions, proceedings (formal
and informal), damages, costs:and expenses (including legal fees) as-and when incurred arising
out of or based upon any breach by such Shareholder of any representation, warranty or covenant
in this Agreement.

27.  Genderand Number, Whenever the context of this Agreement reqnires,
ihe masculine geuder includes the feminine and neuter, and the singular number inelndes the
plural, and vice versa.

28.  Blne Station. This Agreement has no application whatsoever to. Blue
Station Realty, LLC, a New York limited liability company, Or to Blue Station Realty, Inc., a
New York corporation.

"29. Lopal Representation of Parties The parties declare that cach has been
urged to seek and obtain independent legal advice by counsel of his own choosing in connection
with the preparation and execution of this Agreement and has had the opportunity to do so.

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(f}. |The unconditional ‘assignment for ‘the benefit of creditors by the”

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me IN WITNESS WHEREOF, the parties have hereunto set their hands and seals the day and
' " year first above written. oS co naa oo,

“DOUGLAS BEL@.7 > > -

= LABELLA

_ BLUED

By:
Douglas Belz, Presi

DIAM-N-B ECHANICAL CORP...

By;

‘Douglas Belz, President

- MIRAGE MECHANICAL SYSTEMS, INC.

‘By:

Douglas Belz, Préstdent
RUSKIN MOSCOU FALTISCHEK, P.C., as Escrow Agent

By:

Michael Faltischek

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